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                                   UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION

 ASHOK ARORA,                                               Case No.: 1:18-cv-00767
                Plaintiff,                                  NOTICE OF SETTLEMENT


 v.


 AARGON AGENCY, INC.,
                Defendant.


               TO THE HONORABLE COURT:
               PLEASE TAKE NOTICE that a settlement in this matter has been reached between all
parties. The parties anticipate that they will complete the settlement, and file a stipulation of
dismissal, within 60 days from the date of this notice.
               In light of the settlement, the parties request that the Court take off calendar all future
hearing dates in this case.

                                                              Respectfully Submitted,

 Dated: October 29, 2018                                    CARLSON & MESSER LLP
                                                            s/ David J. Kaminski
                                                            Attorney for Defendant,
                                                            Aargon Agency, Inc.
                                                            Carlson & Messer LLP
                                                            5901 W. Century Blvd., #1200
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                                      CERTIFICATE OF SERVICE

               I, David J. Kaminski, hereby certify that on this 29th day of October, 2018, a true and
accurate copy of the foregoing Notice of Settlement was served via the District Court ECF System
on the Following:

               Email: ashoklaw@protonmail.com
                                                                 /s/David J. Kaminski
                                                                 David J. Kaminski
                                                                 CARLSON & MESSER LLP




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